IN THE DISTRICT COURT OF THE UNITED STATES FOR THE                     

   MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION                       


RASHAD C. LEE,                  )                                         
                             )                                         
  Petitioner,                )                                         
                             )       CIVIL ACTION NO.                  
  v.                         )         2:19cv471-MHT                   
                             )              (WO)                       
GWENDOLYN GIVENS, Warden,       )                                         
et al.,                         )                                         
                             )                                         
  Respondents.               )                                         

                          ORDER                                        
  This   cause    is   now   before   the    court   on   the          
petitioner's notice of appeal (doc. no. 8), which the                     
court is treating as a motion to proceed on appeal in                     
forma pauperis.                                                           
  28 U.S.C. § 1915(a)(3) provides that "[a]n appeal                    
may not be taken in forma pauperis if the trial court                     
certifies   in   writing   that   it  is  not   taken  in   good          
faith."  In making this determination as to good faith,                   
a court must use an objective standard, such as whether                   
the  appeal   is  "frivolous,"   Coppedge   v.  United  States,           
369   U.S.   438,   445  (1962),    or  "has   no   substantive           
merit."  United States v. Bottoson, 644 F.2d 1174, 1176                   
(5th Cir. Unit B May 15, 1981) (per curiam); see also                     

Rudolph   v.  Allen,  666  F.2d   519,  520  (11th  Cir.   1982)          
(per curiam); Morris v. Ross, 663 F.2d 1032 (11th Cir.                    
1981).     Applying  this  standard,   this   court  is  of  the          
opinion that the petitioner's appeal is without a legal                   

or factual basis and, accordingly, is frivolous and not                   
taken   in  good  faith.     See,   e.g.,  Rudolph   v.   Allen,          
supra;   Brown  v.   Pena,  441   F.  Supp.   1382  (S.D.   Fla.          
1977), aff'd without opinion, 589 F.2d 1113 (5th Cir.                     

1979).                                                                    
                           ***                                         
  Accordingly,    it  is  ORDERED   that  the   petitioner's           

motion   to   proceed   on   appeal   in   forma   pauperis   is          
denied; and that the appeal in this cause is certified,                   
pursuant   to  28  U.S.C.   §  1915(a)(3),   as  not   taken  in          
good faith.                                                               

      DONE, this the 29th day of August, 2019.                         

                              /s/ Myron H. Thompson                    
                           UNITED STATES DISTRICT JUDGE                